      Case 3:20-cr-00314-MMA Document 148 Filed 10/02/20 PageID.750 Page 1 of 3




 1
 2
 3
 4
 5
 6
 7
                            UNITED STATES DISTRICT COURT
 8
                         SOUTHERN DISTRICT OF CALIFORNIA
 9
10    UNITED STATES OF AMERICA,                Case No.: 20CR0314-MMA
11                 Plaintiff,
12                                             ORDER CONTINUING HEARING AND
            v.                                 EXCLUDING TIME UNDER THE
13                                             SPEEDY TRIAL ACT
14    DAVIT SIMONYAN (1),
          aka “Davo,”
15    VAHRAM SIMONYAN (2),
16    ARSEN MINASYAN (3),
      GOR PLAVCHYAN(4),
17    ARSEN GALSTYAN (5),
18    MUKUCH MKRTCHYAN (6),
      SMBAT SHAHINYAN (7),
19
20                Defendants.
21
22         For the reasons stated by the parties in their joint motion, and pursuant to 18
23 U.S.C. § 3161(h)(7),
24         IT IS HEREBY ORDERED that:
25         1.    The motion hearing and trial setting presently set for October 5, 2020 is
26 continued to January 13, 2021 at 2:00 p.m. The parties shall file their motions, if any,
27 two weeks before the hearing date, with responses due one week prior to the hearing.
28      2.    Time from the October 2, 2020 filing of this motion until the continued
     motion hearing date is excluded under the Speedy Trial Act, as the Court finds that the
      Case 3:20-cr-00314-MMA Document 148 Filed 10/02/20 PageID.751 Page 2 of 3




 1 ends of justice served by granting the continuance outweigh the best interest of the
 2 public and the defendants in a speedy trial for the following reasons:
 3               a. The ongoing public health emergency recognized in the Orders of the
 4                  Chief Judge of this Court has made preparing for trial and the filing of
 5                  motions substantially more difficult; although the parties have
 6                  exercised reasonable diligence in reviewing discovery, identifying and

 7                  interviewing witnesses, and otherwise preparing for trial, the present

 8                  circumstances has burdened those efforts and a reasonable continuance

 9                  is appropriate to enable them to be accomplished;

10               b. The discovery in this case is very voluminous; to date, it includes
                    approximately 93,335 pages of written discovery and 439 audio/video
11
                    files, and additional discovery is contemplated;
12
                 c. The crimes charged in the indictment occurred over almost three years,
13
                    span at least five states, and involved a number of individuals including
14
                    those charged in this case and others. Investigating the allegations,
15
                    reviewing the discovery, and investigating possible defenses in such a
16
                    case is time-consuming under normal circumstances and more so under
17
                    the conditions of the global pandemic
18
                 d. The ability of the United States to summarize the most relevant
19
                    evidence for each defendant and his counsel has been hampered by the
20
                    ongoing public health emergency and the related social distancing
21
                    measures, notwithstanding the parties’ diligence.
22
           3.    Time shall accordingly be excluded under 18 U.S.C. § 3161(h)(7)(B)(iv)
23
     dating from the time the parties’ motion was filed under 18 U.S.C. 3161(h)(1)(D).
24
           4.    The Court expressly finds that this continuance is granted, in part, based
25
     upon the extraordinary circumstances of the ongoing public health emergency, as
26 recognized in the Orders of the Chief Judge of this Court and approved by the Ninth
27
28
                                                                        United States v. SIMONYAN et al.
                                                                                          20-cr-314-MMA
     Case 3:20-cr-00314-MMA Document 148 Filed 10/02/20 PageID.752 Page 3 of 3




1 Circuit Judicial Council, and not because of general congestion of the court’s calendar,
2 or lack of diligent preparation on the part of any party.
3        5.     Time shall also be excluded as to each defendant individually pursuant to
4 18 U.S.C. § 3161(h)(6), based upon the Court’s finding that this exclusion is reasonable
5 as to each individual defendant based upon the exclusion as to his codefendants.
6
7        SO ORDERED.

8
9 DATED: October 2, 2020
10
11
12                                        HON. MICHAEL M. ANELLO
                                          United States District Court
13
                                          Southern District of California
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                                     United States v. SIMONYAN et al.
                                                                                       20-cr-314-MMA
